‘Case 3:24-cv-01370 BMW EBLSFATES DESBRIGE C@URTo 12 PagelD5
FOR THE NORTHERN DISTRICT OF TEXAS

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FILED-USDC-NDTX-DA
24 J
klcouncil888 aka Kenneth Council
Plaintiff 93 94 C Vv 1 3 q 9 QD
v _ _ Civil Action No.
Draftkings ) OCR (ve lL a nd Soha 2
Defendant
COMPLAINT
See Attached Sheets

* Attach additional pages as needed.

Date 05/3/2024
Signature Kenneth Council
Print Name Kenneth Council
Address 1723 Pine St

City, State, Zip Dallas Texas 75215

Telephone 5617676522

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Civil Rights Claim (Northern District of Texas)

Overview

Draftkings geoplay does not function properly and is publicly
known to have issues which provide unfair and unequal advantages
to nonurban players, costing urban thousands of dollars to urban
players like Council.

Draftkings knew or should have known that its geoplay software
function is less accurate in urban areas than nonurban areas.
Despite the use of inaccurate location software Draftkings
arbitrarily suspended urban players from the contest during
mid-game (and while they were winning and still had players to
LOSErt) «

Draftkings is placing location accuracy burden on Players like
Council.

When a player enters a contest the player is paying for
(location accuracy) if the location software being relied upon
by dRAFTKINGS is defective: then Draftkings committed fraud (as
a player has an expectation that the geosoftware dRAFTKINGS
RELIES on provides all player with the same protection.
Draftkings has an obligation to ensure that the players are
aware that Draftkings geosoftware is defective and could make

false reads and that Draftkings would not be able to fix them in

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time during the contest, and provided more protection to
nonurban players.

Drafting has no in contest means of correcting location errors
generated by defective software other than to restrict playeras
accounts based on false suspicions and inaccurate readings.
Despite draftkings being aware of such problems they failed to
advise players in these areas of the fact that the geo software
would not function as effectively for urban players as would for
players in less populated areas.

Draftkings knew that suburban ,players would have a better in
contest experience than urban players due to software glitches
which occurred more frequently in urban areas.

Draftkings has a policy that provides less location protection
for urban players than for nonurban players:

Urban players are restricted at much higher rate than players in
nonurban areas burning game play.

The masking discrimination policy and unequal in-game protection
exposes urban players to significant losses and terribly
unreliable in contest glitches which give non urban players a
concerted advantage over urban players.

Resulting in a racial disparity not seen since Jim Crow.

(Overview of Racially Base Location Accuracy Data)
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False positives can indeed be frustrating for players,

especially when they’re wrongly restricted due to location

inaccuracies.

False positives in  esports tournaments due to location
inaccuracies can have significant consequences for players. Here

are some potential impacts: (Council suffered all of the

problems below)

1. Disqualification: If a player is falsely flagged as being
outside the allowed jurisdiction during a tournament, they
may be disqualified from participating. This can be
devastating, especially if they were performing well.

2. Loss of Prizes: Imagine a player reaching the finals, only
to be disqualified due to a false positive. They’d miss out
on potential prize money, recognition, and career
opportunities.

3. Reputation Damage: False positives can tarnish a player’s
reputation. Others might question their integrity or accuse
them of cheating, even if it was a technical error.

4. Emotional Stress: Esports players invest time, effort, and

passion into tournaments. A false positive can cause

frustration, anger, and disappointment.
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5. Team Impact: In team-based esports, a false positive
affects the entire team. Losing a key player due to

location restrictions can weaken the team’s performance.

Platforms and tournament Organizers are aware of these risks.
They continually refine location checks to minimize false
positives and maintain fair play. Ensuring accurate location
checks is crucial for online gaming platforms. While false
positives can occur, platforms have a legal obligation to

minimize location inaccuracies. Here’s how they address this:

1. Legal Compliance: Platforms must adhere to local and
international laws regarding online gambling, gaming, and

player eligibility. Accurate location checks are essential

to meet these legal requirements.

2. Risk Mitigation: False positives pose risks to both players
and platforms. To prevent legal issues and maintain trust,
platforms invest in robust geolocation technology.

3. Customer Support: When players encounter false positives,
they can reach out to customer Support. The platform
investigates and adjusts restrictions if necessary.

4. Transparency: Platforms communicate their location check
processes clearly. Players should understand how it works

and what to do in case of false positives.

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Accurate location checks are indeed essential to meet legal
requirements in the gaming industry. When platforms fail to maintain
accurate geolocation services, they risk legal consequences,
including lawsuits. Players who experience false positives due to
location inaccuracies may seek legal recourse if their gaming
experience is significantly impacted. It’s crucial for platforms to

strike a balance between security and fair play while minimizing

false positives.

Statement of Facts

1.

Council began to seriously invest in Draftkings in April of 2024.

- Purchasing a new laptop, Samsung Smart TV, Mlb TV yearly

subscription etc.

- Council learned to play fantasy baseball in the mid 80s and has

won hundreds of thousands of dollars over the course of 40 plus

years on baseball calculations.

- Council adheres to Gibson Theory (a trade secret he employed in

dfs contest based on the fundamental fact that Josh Gibson was
purely Josh Gibson and not the black Babe Ruth.) A scheme based

on truth always undermines the next player's line up.

- A part of the scheme (as with most schemes) requires studying

your opponents lineup tendency to accomplish this. Council

stopped winning for a few days to study other folks' line ups.

. Once Council saw that these contests (called multipers) were

being controlled by (cluster players) tickets which contained 70

percent of the same players.
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Council instituted the Josh Gibson Line up which has a superior
complex mosaic (of bat order placement based on the same scales
that John Coltrane used to write Equinox) the lineup is pure
balance and unbreakable. Simple math the number 4 produces the
most periods. You can have 8 of them in a DFS Lineup at one time.

Council began to do this.

- On or about 05/28/24 Draftkings began to send statements telling

third parties that Council had “repeated instances of location

jumping and suspected accounts”.

- According to the information found, location jumping could only

occur if a Draftkings Player has been to another state using his
account to wager or a state that does not allow Draftking and
entered a contest.

Council has verifiable proof he nor any of his associated
devices have left the state of Texas since July Of 2023 therefore
Draftkings has clearly and intentionally committed defamation per
se in order to confiscate his monies and prevent income.

Council has 100 percent proof he has not left Texas in over 10
months at no time on which the Defendants false claims of
location sharing are based upon.

“Suspect account sharing” a claim baseless in and of itself.
Draftkings contended to Council that in the United States of
America that Draftkings has an unfretted right to confiscate
monies, impede commerce, and deny a Black Family the same or
similar economic well being white baseball players enjoy, because

Draftkings suspects someone of doing something. (Which they

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16%

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cannot prove (or) provide a nonracial stereotype of why they have
these racist suspicions.

Draftkings has provided not a single note of evidence of
account sharing. Account sharing is a simple technical occurrence
to provide evidence of.

Drafrkings has robbed me of my money, defamed my name, and
done this all in the middle of one of the longest black outs in
the history of America.

Draftkings unrestricted Council accounts on 05/28/24.

Council entered 6 contests on 05/29/24 with Draftkings (Main
MLB Classic).

Council a baseball purist used a (Josh Gibson) stack busters:
a stack buster is used by solo players on Draftkings because
Draftkings is based on a cluster of players usings 70 percent of
the same players.

Council used only 3/4/5 hitters in his initial line up
(Players Like B. Rogers, A Kiriloff, McMahon, B Bichette etc.
Gibson stratagem is unbreakable. Council deployed this stratagem
and Draftkings insiders panic.

Draftkings insiders began issuing defamatory and _ false
statements to third parties and sharing such information across
electronic wire transfers: claiming Council would be restricted
from the contest he had entered due to “location jumping and

account sharing”.

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22%

23).

24.

Draftkings provided no evidence of such defamatory statements
used to unjustly enrich Draftkings at Council’s expense based on
an unfair and criminal abuse of contract.

Draftkings deprived Council of tangible profits and investment
interest in potential winnings totalling 11, 200: Draftking
restricted Councils access to the final information associated
with these contests in order to unjustly deprive Council of his
property.

The Gibson strategy is used to place leverage on
cluster/clutter players. This is accomplished by ensuring you
have at least two each of the players in the cluster players
lineups: take the 4 hitter (no ticket wins without production
from that position).

Council picked the perfect Day to apply Gibson Stratagem (when
the over total scoring was very low) Council had 75 to 100
percent availability of all the players which would eventually
score in the top 3 percent (ensuring top 3 wins across the
board).

Council also had several slots available for the final games
based on Council’s previous lineup (for this set of series)
Council was prepared to use the same Players he had used before
in the late Games: NYY vs LAA and Hou vs Sea (players available
and were on Council’s pinch hit list (and were used the day
before by Council) players like J Rodriguez, D Conzone, A. Volpe,

J Meyers, etc.

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On 05/29/24 Council began processing pinch hitters into his
line ups around 7:25 pm shortly after Draftkings began to disrupt
Councils line ups, inserts, and then eventually blocked his
account.

Draftkings claims are 100% provably false. 100 percent of all
Council’s transmission to Draftkings were submitted via a Dallas
network located in North Texas somewhere in Dallas County.
Location Jumping can only occur when a player leaves the state
they are registered to play in.

Draftkings extended its defamation per se of Council costing
(him) 11200.00 when Draftkings accused Council of account
Sharing. A total lie which Draftkings cannot prove.

On 05/29/24 the last time Council checked his winnings were
approximately 6120.00.

Based on projections, Council's lineups had scored
approximately 35 pts each with (70 PIR)remaining meaning that
Council was average 35 per 20 (pir) 35 x 4 = 140 + 17.5 + 157.5.

On the date in question 157.5 pts scored would have been one
of the highest if not highest total scored in (all three
multiplier contests Council entered) and Draftkings had unjustly

restricted him from.

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Resolution
Council requests
11, 200 from Draftkings (The amount Council would have won)
Legal Expenses 3600.00 from Draftkings
Punitive Damages: 808, 008.00 USD For intentional tort based

discrimination software.

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provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is require:

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM. 2)

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I. (a) PLAINTIFFS
Klcouuncil888 aka

(b) County of Residence of First Listed Plaintiff

Kenneth Council

Dallas

DEFENDANTS
Draftkings

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Prose

THE TRACT
Attorneys (If Known)

County of Residence of First Listed Defendant

Hudson

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF

g-94CV1370-D

II. BASIS OF JURISDICTION (Place an “‘X” in One Box Only)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif}

(For Diversity Cases Only) and One Box for Defendant)
[-]1 U.S. Government [_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x]! [] 1 Incorporated or Principal Place [14 (4
of Business In This State
(]2. U.S. Government [X]4 Diversity Citizen of Another State [J2 [x] 2 Incorporated and Principal Place [] 5 C] 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a CT 3 CT] 3 Foreign Nation CO 6 C] 6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Natur i Descriptions.
L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [_] 367 Health Care/ ee A 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment| Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
~ 152 Recovery of Defaulted Liability C] 368 Asbestos Personal A 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [| 880 Defend Trade Secrets |_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 4 355 Motor Vehicle x 371 Truth in Lending Act 485 Telephone Consumer
190 Other Contract Product Liability LJ 380 Other Personal | 720 Labor/Management Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage — Railway Labor Act 862 Black Lung (923) ~ 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI CO 890 Other Statutory Actions
[REAL PROPERTY [PRISONER PETITIONS | _|790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
|_} 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |] 893 Environmental Matters
LJ 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act TS 895 Freedom of Information
|_| 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
| 245 Tort Product Liability Accommodations 530 General [| 871 IRS—Third Party 899 Administrative Procedure
[] 290 All Other Real Property 445 Amer. w/Disabilities -[__] 535 Death Penalty [IMMIGRATION 1] 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration [| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an "X”’ in One Box Only)

x] 1 Original 0 2 Removed from 3 Remanded from Oo 4 Reinstated or oO 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 USCA |(*#
VI. CAUSE OF ACTION Brief description of cause:
Impeding Commerce and Electronic Defamation Per
VII. REQUESTED IN = (] CHECK IFTHIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 888000 JURY DEMAND: — [X]Yes [_]No
VIN. RELATED CASE(S)
IF ANY (See insructions): GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
05/31/2024 Kenneth Council

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AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE

